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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION
UNITED STATES OF AMERICA

v.                                               Case No. 8:03-cr-152-T-30TBM

EDWARD A. HALLOCK
____________________________________

                                        ORDER

       This cause came on for consideration without oral argument upon Defendant’s
Emergency Motion to Extend Self-Surrender Period (Dkt. #284). Upon review and
consideration, it is
       ORDERED AND ADJUDGED that:
       1.      Defendant’s Emergency Motion to Extend Self-Surrender Period (Dkt. #284)
is GRANTED. The deadline for Defendant’s self-surrender into the custody of the United
States Marshal’s Service is extended to MONDAY, SEPTEMBER 26, 2005, or at such later
date as directed by the United States Marshal’s Service.
       2.      A hearing on Defendant’s Motion to Vacate, Set Aside, or Correct Sentence
by a Person in Federal Custody (Dkt. #283) will be held on FRIDAY, AUGUST 19, 2005,
AT 10:00 A.M. at the Sam Gibbons United States Courthouse, 801 North Florida Avenue,
Courtroom #13A, Tampa, Florida 33602. Time reserved: Fifteen (15) minutes.
       DONE and ORDERED in Tampa, Florida on July 25, 2005.




Copies furnished to:
Counsel/Parties of Record
United States Marshal
United States Probation Office
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